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                        UNITED STATES DISTRICT COURT

                                 DISTRICT OF MINNESOTA


Terry Richards,                                    Civil File No. 18-cv-1201 (JNE/DTS)

                    Plaintiff,
                                                    MEMORANDUM OF LAW IN
      vs.
                                                SUPPORT OF DEFENDANTS ROY,
Tom Roy, Kathryn Halvorson, Nola                 HALVORSON, KAROW, LARSON,
Karow, Nanette Larson, Jody                          OHNSTAD, THOMSON, AND
Ohnstad,      Rhonda  Thompson,                 PAULSON'S MOTION TO DISMISS
Centurion of Minnesota, David                         PLAINTIFF'S COMPLAINT
Paulson, Darin Haugland, Itasca
Grand County Jail, Itasca Grand
Clinic Hospital,

                    Defendants.

                                    INTRODUCTION

      Plaintiff Terry Richards brought this action pursuant 42 U.S.C. § 1983 in which he

appears to allege deliberate indifference to his medical needs in violation of the Eighth

Amendment, violations of the Americans with Disabilities Act and Rehabilitation Act

(referred to collectively as “ADA”), and various state tort claims. Plaintiff sued Tom

Roy, Commissioner of the Minnesota Department of Corrections (“DOC”); Kathryn

Halvorson, warden at the Minnesota Correctional Facility-Faribault (“MCF-Faribault”);

Nola Karow, Associate Director of Nursing for the DOC; Nanette Larson, Health

Services Director for the DOC; Jody Ohnstad, Nursing Supervisor; Rhonda Thomson,

Nursing Supervisor; and David Paulson, medical director for the DOC (“DOC

Defendants”), in their official and individual capacities. Because Plaintiff’s complaint
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fails to state a claim upon which relief can be granted, all claims against DOC Defendants

should be dismissed.

                                   FACTS ALLEGED1

       On February 2, 2015, Plaintiff was committed to the DOC following his guilty

plea to manslaughter in the second degree in violation of Minn. Stat. § 609.205(1).2

Plaintiff was in DOC custody from February 9, 2015, to July 2, 2018. (ECF 1 at 6.)3

While Plaintiff was in the Itasca County Jail, prior to his incarceration with the DOC, he

developed an abscess between his abdominal muscles that was drained twice and then

required surgery. (Id. at 5.) During the surgery, which occurred on December 14, 2014,

the hernia mesh from a prior surgery was removed. (Id.) Plaintiff was transported to the

Grand Itasca Hospital for surgery. (Id.) Upon his return to the Itasca County Jail, he

failed to receive pain medication to alleviate the residual pain from his surgery. (Id.) In

January 2015, Plaintiff had complications from the surgery resulting in infection. (Id. at

5-6.) Plaintiff was not examined by a physician until he was placed in the custody of the

DOC on February 9, 2015. (Id. at 6.) Plaintiff appears to assert that, during this time in

jail, medical staff were negligent in their failure to provide him medical attention

resulting in pain, suffering, and permanent injury. (Id.)


1
  As this is a motion to dismiss, the facts asserted are accepted as true for the purposes of
this motion, but DOC Defendants reserve the right to deny the factual allegations should
this case progress.
2
  See Itasca County criminal court file 31-CR-14-2694.
3
   The factual allegations in Plaintiff’s complaint are not contained in numbered
paragraphs, and the pages of the complaint are not in sequential order. Citations to the
complaint therefore reference the ECF page number.

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         While in DOC custody, Plaintiff’s wound again became infected and Plaintiff was

treated by a doctor. (Id. at 6-7.) In May 2015, Plaintiff was transported to St. Joseph

Hospital4 for surgery and to remove the hernia mesh. (Id. at 7.) The St. Joseph’s surgeon

failed to remove all the mesh resulting in another infection. (Id.) As a result of the

spread of that infection, another St. Joseph’s surgeon had to remove Plaintiff’s left

testicle. (Id.) Following his surgeries, Plaintiff was placed in the recovery unit at MCF-

Oak Park Heights. (Id.)

         In August 2015, Plaintiff was moved to MCF-Faribault. (Id.) While at MCF-

Faribault Plaintiff was required to walk one-third of a mile four times a day. (Id.) As a

result of his walking, Plaintiff developed another infection. (Id.) At that time, Plaintiff

requested a wheelchair from DOC Defendant Jody Ohnstad. (Id.) Plaintiff received the

wheelchair the following week. (Id.)

         In November 2015, Plaintiff’s wound again became infected. (Id. at 8.) Plaintiff

appears to assert that “the health service nurse” should have requested permission to

transport him to the hospital. (Id.) Plaintiff appears to assert that he was transferred to a

“special need unit” later than he should have because a “health service supervisor” falsely

claimed he did not meet the criteria for the unit. (Id.) Plaintiff was then transferred to

MCF-Oak Park Heights for treatment, and then to a MCF-Faribault unit that lacked air

conditioning and exacerbated his COPD. (Id. 8-9.)




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    St. Joseph Hospital is not a named defendant in these proceedings.

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                              STANDARD OF REVIEW

       Federal Rule of Civil Procedure Rule 12(b)(6) authorizes a court to dismiss a

claim on the basis of a dispositive issue of law. Neitzke v. Williams, 490 U.S. 319, 326

(1989). Though the court must accept as true all factual allegations of a complaint when

considering a motion to dismiss, legal conclusions and “threadbare recitations of truth”

are not entitled to the presumption of truth. Zink v. Lombardi, 783 F.3d 1089, 1098 (8th

Cir. 2015) (quoting Ashcroft v. Iqbal, 556 U.S. 662, 676 (2009)). The court must dismiss

a complaint when the complaint does not allege “enough facts to state a claim to relief

that is plausible on its face” rather than merely “conceivable.”       Bell Atl. Corp. v.

Twombly, 550 U.S. 544, 571 (2007).

       “To state a claim under § 1983, the plaintiff must plead that a government official

has personally violated his constitutional rights.” Jackson v. Nixon, 747 F.3d 537, 543

(8th Cir. 2014) (citing Iqbal, 556 U.S. at 676). This requires allegations that “each

defendant was personally involved in the deprivation of constitutional rights.” Id. This

means Plaintiff must allege each individually named Defendant’s personal involvement

in the asserted violations with “more than labels and conclusions, and a formulistic

recitation of the elements of a cause of action will not do.” See Twombly, 550 U.S. at 555.

                                     ARGUMENT

       Plaintiff fails to state a claim against DOC Defendants.         Plaintiff’s official

capacity claims are barred by the Eleventh Amendment, he fails to allege sufficient

personal involvement of any Defendant to establish an individual capacity claim under

section 1983, and he does not allege a cognizable ADA claim. The crux of Plaintiff’s

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complaint appears to be related to circumstances surrounding his chronic infections that

occurred before he was in DOC custody and the alleged malpractice of a surgeon who is

not a party to this litigation. For these reasons, Plaintiff’s complaint fails to state a claim

upon which relief can be granted and should be dismissed with prejudice.

I.     PLAINTIFF FAILS TO ALLEGE A COGNIZABLE CLAIM AGAINST DOC
       DEFENDANTS IN THEIR OFFICIAL CAPACITIES.

       Plaintiff names all DOC Defendants in their individual and official capacities. An

official capacity claim against a state employee is a claim against the state. Kentucky v.

Graham, 473 U.S. 159, 165-66 (1985). Under the Eleventh Amendment a state, its

agencies, and its departments are immune from suits brought by citizens in federal court.

Pennhurst State School & Hospital v. Halderman, 465 U.S. 89, 100 (1984).                  The

Eleventh Amendment therefore precludes Plaintiff’s official capacity claims.

       There is an exception to Eleventh Amendment immunity that permits federal

courts to grant prospective relief against state officials to enjoin their future compliance

with federal law. See Ex parte Young, 209 U.S. 123 (1908); Pennhurst, 465 U.S. at 104;

Edelman v. Jordan, 415 U.S. 651, 664 (1974). Though Plaintiff’s complaint summarily

requests injunctive relief, it does not articulate any specific prospective injunctive relief

he is seeking. Moreover, even if Plaintiff did name an appropriate state official with the

ability to change or implement a policy in violation of federal law, Plaintiff is no longer

in DOC custody (see ECF 1 at 5), and therefore any such claim would be moot. For these

reasons, the Ex parte Young exception to Eleventh Amendment immunity is inapplicable

to Plaintiff.


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II.    PLAINTIFF FAILS TO ALLEGE SUFFICIENT PERSONAL INVOLVEMENT OF DOC
       DEFENDANTS IN THEIR INDIVIDUAL CAPACITIES TO ESTABLISH A
       COGNIZABLE SECTION 1983 CLAIM.

       Plaintiff fails to allege sufficient personal involvement of any named DOC

Defendant in an alleged constitutional violation to maintain a cognizable individual

capacity claim under section 1983. “Section 1983 liability is personal.” Dahl v. Weber,

580 F.3d 730, 733 (8th Cir. 2009). Personal involvement of a named defendant is

therefore an essential element of a section 1983 action because the doctrine of respondeat

superior does not apply to section 1983 claims. Lenz v. Wade, 490 F.3d 991, 995 (8th

Cir. 2007).   Only state officials who are directly and personally involved in the

deprivation of constitutional rights can be found liable. Rizzo v. Goode, 423 U.S. 362,

376-77 (1976). “[E]ach defendant’s conduct must be independently assessed.” Wilson v.

Northcutt, 441 F.3d 586, 591 (8th Cir. 2006). Mere negligence in failing to detect or

prevent misconduct is insufficient. Ripson v. Alles, 21 F.3d 805, 809 (8th Cir. 1994).

Nor can a plaintiff rest on a bald allegation that a defendant knew or should have known

of a constitutional violation. Boyd v. Knox, 47 F.3d 966, 968 n.1 (8th Cir. 1995).

       Plaintiff only names one DOC Defendant in the entire section of his complaint that

contains factual allegations (see ECF 1 at 5-9), and the allegations with respect to that

DOC Defendant do not provide even an inference of constitutional misconduct.5 Each




5
 Plaintiff appears to allege that he sent a kite to Defendant Jody Ohnstad in August of
2015 requesting a wheelchair which he received the following week. (ECF 1 at 7.)

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DOC Defendant is entitled to notice of the precise constitutional framework and nature of

the allegations against them, and Plaintiff’s complaint cannot survive on no more than

“an unadorned, the-defendant-unlawfully-harmed-me accusation.” Iqbal, 556 U.S. at

678.   As Plaintiff’s complaint fails to identify specific unconstitutional conduct, or

attribute that conduct to any named DOC Defendant, the individual actions of each DOC

Defendant cannot be independently assessed and his individual capacity claims fail as a

matter of law.

III.   PLAINTIFF FAILS TO ALLEGE A COGNIZABLE ADA CLAIM.

       Claims under ADA and section 504 or the Rehabilitation Act are interchangeable

for analytical purposes. Bahl v. County of Ramsey, 695 F.3d 778, 783 (8th Cir. 2012),

citing Randolph v. Rodgers, 170 F.3d 850, 858 (8th Cir. 1999). To assert a valid ADA

claim, a plaintiff needs to allege three elements: “(1) he is a person with a disability as

defined by statute; (2) he is otherwise qualified for the benefit in question; and (3) he was

excluded from the benefit due to discrimination based on disability.” Randolph, 170 F.3d

at 858. Plaintiff’s complaint fails to allege any of the elements of a valid ADA claim.

Plaintiff does not allege that he has a statutorily defined disability, he does not allege he

is entitled to any particular benefit, and he does not allege he was excluded from that

benefit by virtue of his disability.

       At best, Plaintiff’s complaint alleges he received improper medical treatment. It is

well settled that an allegation of improper medical treatment cannot form the basis of an




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ADA claim. Shelton v. Arkansas Dep’t of Human Servs., 677 F.3d 837, 843 (8th Cir.

2012) (“The district court correctly held that a claim based upon improper medical

treatment decision may not be brought pursuant to either the ADA or the Rehabilitation

Act.”); Burger v. Bloomberg, 418 F.3d 882, 883 (8th Cir. 2005) (per curiam) (“[A]

lawsuit under the Rehab Act or the Americans with Disabilities Act cannot be based on

medical treatment decisions . . . .”). For these reasons, Plaintiff’s ADA claim must fail.

IV.    THE COURT SHOULD DECLINE TO EXERCISE ITS                            SUPPLEMENTAL
       JURISDICTION OVER PLAINTIFF’S STATE TORT CLAIMS.

       The Court should decline to exercise supplemental jurisdiction over Plaintiff’s

state tort claims. Courts routinely decline to exercise supplemental jurisdiction when all

federal claims are dismissed. See Gibson v. Weber, 433 F.3d 642, 647 (8th Cir. 2006);

Stokes v. Lokken, 644 F.2d 779, 785 (8th Cir. 1981) (“[W]hen federal claims are

dismissed before trial, the normal practice is to dismiss pendent [state law] claims.”),

overruled on other grounds by Pinter v. Dahl, 486 U.S. 622 (1988); Magee v. Hamline

Univ., 1 F.Supp.3d 967, 977-78 (D. Minn. 2014) (“Courts should exercise judicial

restraint and avoid state law issues wherever possible.’” (quoting Thomas v. Dickel,

213 F.3d 1023, 1026 (8th Cir. 2000))). Because Plaintiff fails to establish a cognizable

federal claim, the Court should decline to exercise its supplemental jurisdiction over

Plaintiff’s state tort claims.




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                                  CONCLUSION

      For the foregoing reasons, pursuant to Fed. R. Civ. P. 12(b)(6), the Court should

grant DOC Defendants’ motion to dismiss and dismiss Plaintiff’s complaint with

prejudice.

Dated: August 9, 2018                    Respectfully submitted,

                                         OFFICE OF THE ATTORNEY GENERAL
                                         State of Minnesota



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